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                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

 RHINO AVIATION CJ510 LLC AND  §
 SB 501 LLC,                   §
       Plaintiffs,             §
                               §                              Civil Action No. 4:24-cv-00615
 v.                            §
                               §
 WHITMORE HOLDINGS LLC AND     §
 DUPAGE AEROSPACE CORPORATION, §                                      Jury Demanded
     Defendants.               §
                   DEFENDANTS’ MOTION TO VACATE ORDER
            GRANTING PLAINTIFFS’ MOTION FOR VOLUNTARY DISMISSAL
               AND FOR LEAVE OF COURT TO FILE RESPONSE BRIEF

        Pursuant to Federal Rule of Civil Procedure 59(e), Defendants Whitmore Holdings LLC

and Dupage Aerospace Corporation file this Motion to Vacate the Order Granting Plaintiffs’

Motion for Voluntary Dismissal. Defendants further request leave of Court to allow Defendants

an opportunity to file the attached opposition brief pursuant to Local Rule 7.3. In support thereof,

Defendants would respectfully show the Court as follows:

        This is a property damage case arising out of an airplane collision that occurred on October

24, 2023 at Hobby Airport in Houston, Texas. Plaintiffs filed this suit in the United States District

Court for the Southern District of Texas on February 22, 2024. Six months later, on September 4.

2024, Plaintiffs filed a Motion for Voluntary Dismissal, seeking an Order from the Court

permitting them to voluntarily dismiss this lawsuit, so that they could refile in federal court in

Illinois.

        As reflected in Plaintiffs’ Certificate of Conference, Defendants were and remain opposed

to the Motion. Pursuant to Local Rule 7.3, opposition briefs are required to be submitted to the

Court within 21 days of the date of filing. Accordingly, Defendants had until September 25, 2024
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to file a response to Plaintiffs’ Motion and fully intended to do so. However, on September 10,

2024, this Court issued an Order granting Plaintiffs’ Motion for Voluntary Dismissal.

        Defendants now file this Motion pursuant to FRCP 59(e), requesting that the Court vacate

its Order granting Plaintiffs’ Motion for Voluntary Dismissal, and granting Defendants leave to

file their opposition brief. Rule 59 of the Federal Rules of Civil Procedure was adopted to make

clear that the district court possesses the power to rectify certain issues with a judgment or order

in the period immediately following the entry of judgment. White v. New Hampshire Dep't of

Employment Sec., 455 U.S. 445,450, 102 S. Ct. 1162, 1165-66 (1982). A motion to vacate is proper

under Rule 59(e), if it meets the rule's time constraints. See Forsythe v. Saudi Arabian Airlines

Corp., 885 F.2d 285, 288 (5th Cir. 1989) (per curiam). FRCP 59(e) provides that a motion to alter

or amend a judgment must be filed no later than 28 days after the entry of the judgment.

        Defendants’ opposition to the Motion to Dismiss is significant and compelling. Indeed, as

set forth in the response brief:

        As set forth in the response brief:

        •       Plaintiffs filed the case here and the case has been pending for six and a half months;

        •       Texas law will almost certainly apply to most, if not all, of the issues that may arise
                in this case;

        •       All of the conduct that gave rise to Plaintiffs’ claims occurred at Houston’s Hobby
                Airport, and the damage to Plaintiffs’ aircraft occurred at Hobby Airport;

        •       Plaintiffs have not alleged that Defendants or their pilots did anything in Illinois
                that contributed to the incident;

        •       Plaintiffs state in their Complaint that they are limited liability companies organized
                under the laws of the State of Georgia, and Defendants are unaware of any contacts
                that Plaintiffs have with Illinois;

        •       Permitting the Plaintiffs to dismiss this case and re-file in federal court in Chicago
                will likely pose evidentiary problems. Liability issues in this case will be centered
                around the communications that took place at Hobby Airport between the air traffic
                controllers and the operators of Defendants’ aircraft, and between the air traffic

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               controllers and the operators of Plaintiffs’ aircraft in the six minutes or so leading
               up to the accident;

       •       Non-party witnesses who are central to this case include Houston-based persons
               such as the Hobby Airport air traffic controllers. Other key witnesses will include
               the local management of the ATC Houston facility and those persons in control of
               Hobby’s safety warning systems and communications;

       •       In addition to the considerations noted above, Defendants are actively investigating
               claims against the Federal Aviation Administration for negligence related to the
               subject accident, all as outlined in the declaration of Douglas E. Stimpson, an
               aviation accident reconstructionist, submitted along with the response brief.
               Assuming that Mr. Stimpson’s preliminary opinions remain the same, Defendants
               intend to third party the FAA in this district. If this case is dismissed, Defendants
               would still file against the FAA in this district, because it makes logical sense to
               proceed here in light of the location of the accident and the location of the involved
               controller(s).

       Here, Defendants file this Motion respectfully requesting that the Court vacate its Order,

such that Defendants can submit a timely response brief for the Court’s consideration. Defendants’

Motion is timely as it is filed within 28 days of the entry of the Court’s Order.

       WHEREFORE, PREMISES CONSIDERED, Defendants Whitmore Holdings LLC and

Dupage Aerospace Corporation pray that the Court grant their Motion to Vacate the Order

Granting Plaintiffs’ Motion for Voluntary Dismissal and request leave of Court to file the attached

opposition brief, and for such other and further relief as deemed just.

                                              Respectfully Submitted,


                                              ____________________________________
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                                CERTIFICATE OF SERVICE

       I do hereby certify that a true and correct copy of the foregoing has been served to all
counsel of record via the Court’s electronic case management system on September 16, 2024


                                             ____________________________________
                                             Brendan P. Doherty




                            CERTIFICATE OF CONFERENCE

       I do hereby certify that, on September 10, 2024, I conferred via email with Plaintiffs’

counsel Butch Boyd and he is opposed to this Motion.

                                             ____________________________________
                                             Brendan P. Doherty




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